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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION

BARBARA BLAND,                                    )
                                                  )   CIVIL ACTION FILE NO.
        Plaintiff,                                )   2:22-CV-00102-LGW-BWC
                                                  )
v.                                                )   For Violations of the Fair Labor
                                                  )   Standards Act of 1938, As Amended
SUN MOON ENTERPRISES, INC.,                       )
RAJESHREE PATEL, and PRANAB                       )
CHAKRABORTY                                       )
                                                  )
        Defendants.                               )

     PLAINTIFF’S RESPONSE TO THE COURT’S SEPTEMBER 12, 2023, ORDER
       COMES NOW Plaintiff, Barbara Bland, and, pursuant to the Court’s September 12,

2023, Order (doc. 27), respectfully provides notice to this Court that Plaintiff intends to pursue

her Notice of Contempt and Breach of Settlement Agreement And Motion for Specific

Performance (doc. 24) for the reasons set forth, infra:

Plaintiff has not been paid in full

       Pursuant to the Settlement Agreement entered into between the parties, “In the event that

any check written by Defendants for the settlement of this case would be returned

unpaid/dishonored in any way, the Defendants will pay for any fees incurred by the party in

receipt of such check. In addition, once the 10-day period for a cure has lapsed, Defendants

will pay to party in receipt of the check, interest in the amount of 10% each day that the

check remains unpaid.” Doc. 20-1 at 4 (emphases added). On June 30, 2023, Defendants

delivered checks to Plaintiff in direct contravention of the plain language of the Settlement

Agreement entered into between the parties. Despite the non-conformance, Plaintiff took good-

faith steps to honor the checks. Plaintiff put Defendants on notice, on July 14, 2023, that the
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checks, as written (in contravention of the Settlement Agreement) were not honored. Defendants

did not cure the deficiency within the time allowed by the Settlement Agreement. Instead,

Defendants waited until September 6, 2023, to cure the dishonored checks. As reflected in the

second table contained in Plaintiff’s motion (doc. 27 at 11), the penalty for presenting payments

on September 6, 2023, is no less than $59,575.87. Defendants have not tendered that amount.

Accordingly, Plaintiff intends to pursue the remaining $59,575.87 owed to her under the

Settlement Agreement.

This Court may retain jurisdiction over this matter

       In light of Defendants’ breach, Plaintiff seeks specific performance of the Settlement

Agreement, as opposed to rescission (in which case the underlying FLSA case would be

revived). The parties’ forum selection clause states that “Plaintiff agrees to the dismissal of the

Lawsuit with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with each party to bear her,

his, or its own costs, attorneys’ fees, and expenses, except as specifically agreed to herein,

subject only to Defendants’ satisfaction of all their obligations under this Agreement, for which

the Court in which the Lawsuit was brought shall retain jurisdiction.” Plaintiff recognizes that,

with the extinguishment of the FLSA claim, this Court may, at its own discretion, chose to

remove this case to the appropriate state court. See, e.g., In re Carter 618 F.2d 1093, 1101 (5th

Cir. 1980)(“When a [] narrowing of the issues excludes all federal claims, whether a pendant

state claim should be remanded to a state court is a question of judicial discretion, not of subject

matter jurisdiction.[citing] Rosado v. Wyman, 397 U.S. 397, 403-05, 90 S.Ct. 1207, 1213-15,

25 L.Ed.2d 442 (1970); United Mine Workers v. Gibbs, 383 U.S. 715, 86 S.Ct. 1130, 16

L.Ed.2d 218 (1966); Hudak v. Economic Research Analysts, Inc., 499 F.2d 996, 1001 (5th

Cir. 1974), cert. denied, 419 U.S. 1122, 95 S.Ct. 805, 42 L.Ed.2d 821 (1975); Webb v.


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Bladen, 480 F.2d 306, 309 (4th Cir. 1973). “). To the extent the Court chooses to waive

jurisdiction over the enforcement of the Settlement Agreement, Plaintiff respectfully requests

that this case be remanded to the Superior Court of Appling County, Georgia.



Respectfully submitted this 19th day of September, 2023.


                              /s/ Tyler B. Kaspers
                              Tyler B. Kaspers, Ga. Bar No. 445708
                              THE KASPERS FIRM, LLC
                              152 New Street, Suite 109B
                              Macon, GA 31201
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SUN MOON ENTERPRISES, INC.,                     )
RAJESHREE PATEL, and PRANAB                     )
CHAKRABORTY                                     )
                                                )
       Defendants.                              )

                               CERTIFICATE OF SERVICE

       I hereby certify that on September 19, 2023, I filed the foregoing PLAINTIFF’S

RESPONSE TO THE COURT’S SEPTEMBER 12, 2023, ORDER using the Court’s CM/ECF

system, which will automatically send an electronic copy of this document to:

        Ian Smith
        SPIRE LAW, LLC
        2572 W. State Road, 426, Suite 2088
        Oveido, Florida 32765
        ian@spirelawfirm.com


                             /s/ Tyler Kaspers
                             Tyler B. Kaspers, Ga. Bar No. 445708
                             THE KASPERS FIRM, LLC
                             152 New Street, Suite 109B
                             Macon, GA 31201
                             404-944-3128




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